908 F.2d 961
    Abex Corp., Airco Welders Supply, Anchor Packing Co., BorgWarner Corp., Brake &amp; Clutch Co. of Phila., Carlisle Corp.,Celotex Corp., Dana Corp., Davis Brake &amp; Equip. Corp., DelcoProd. of GM, Garlock Inc., Precision Seal Div., GE Co.,Crumman OH Corp., H.K. Porter Co., Inc., Kay Wheel Sales,Lear Siegler, Inc., Lenco Inc., Mfgd. Rubber Prod. Co.,Maremont Corp., Melrath Gasket Co., Mohawk Mfg. &amp; SupplyCo., Monsey Prod., Motor Serv., Nat. Gypsum, Nicolet Ind., Inc.
    NO. 90-1023
    United States Court of Appeals,Third Circuit.
    JUN 05, 1990
    
      1
      Appeal From:  E.D.Pa.
    
    
      2
      AFFIRMED.
    
    